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 8
                                 UNITED STATES DISTRICT COURT
 9                                    DISTRCIT OF NEVADA
10
      BANK OF AMERICA, N.A., AS                         Case No.: 2:21-cv-00348-CDS-BNW
11    SUCCESSOR BY MERGER TO BAC
      HOME LOANS SERVICING, LP,
12                                                      STIPULATION AND ORDER TO
13                          Plaintiff,                  EXTEND TIME PERIOD TO RESPOND
               vs.                                      TO DEFENDANT FIDELITY
14                                                      NATIONAL TITLE GROUP, INC.’S
      FIDELITY NATIONAL TITLE GROUP,                    MOTION TO DISMISS [ECF No. 39]
15    INC.; COMMONWEALTH LAND TITLE
      INSURANCE COMPANY; FIDELITY                       [Fifth Request]
16
      NATIONAL TITLE INSURANCE
17    COMPANY; CHICAGO TITLE OF
      NEVADA, INC.; FIDELITY NATIONAL
18    TITLE AGENCY OF NEVADA, INC., DOE
      INDIVIDUALS I through X; and ROE
19
      CORPORATIONS XI through XX, inclusive,
20
                           Defendants.
21
22            COMES NOW Plaintiff, Bank of America, N.A., as Successor by Merger to BAC Home
23   Loans Servicing, LP (“BANA”) and Defendant Fidelity National Title Group, Inc.(“FNTG”), by
24   and through their counsel of record, hereby stipulate and agree as follows:
25         1. On February 11, 2022, BANA filed its First Amended Complaint [ECF No. 33];
26         2. On February 24, 2022, FNTG filed a Motion to Dismiss [ECF No. 39];
27   ///
28   ///




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 1      3. BANA’s deadline to respond to FNTG’s Motion to Dismiss is June 24, 2022;
 2      4. The parties have reached an agreement in theory by which FNTG will be dismissed from
 3         this matter. In order to conserve resources, the parties stipulate and agree that BANA
 4         shall have an additional 31 days to respond to FNTG’s Motion to Dismiss through and
 5         including July 25, 2022. Should the parties finalize their agreement before then, an
 6         appropriate dismissal of FNTG will be filed;
 7      5. Counsel for FNTG does not oppose the requested extension;
 8      6. This is the fifth request for an extension which is made in good faith and not for purposes
 9         of delay.
10         IT IS SO STIPULATED.
11    DATED this 23rd day of June, 2022.               DATED this 23rd day of June, 2022.
12    WRIGHT, FINLAY & ZAK, LLP                        EARLY SULLIVAN WRIGHT GIZER &
13                                                     McRAE LLP

14    /s/ Lindsay D. Dragon                            /s/ Scott E. Gizer
      Lindsay D. Dragon, Esq.                          Scott E. Gizer, Esq.
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      N.A., as Successor by Merger to BAC Home         Title Group, Inc., Commonwealth Land Title
18    Loans Servicing, LP                              Insurance Company, Fidelity National Title
19                                                     Insurance Company, Chicago Title of
                                                       Nevada, Inc., and Fidelity National Title
20                                                     Agency of Nevada, Inc.
21
     IT IS SO ORDERED.
22
           Dated this 24th day of June, 2022.
23
                                                 ____________________________________
24
                                                 UNITED STATES DISTRICT JUDGE
25
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